      Case 2:16-cv-01080-HB Document 53 Filed 02/27/18 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LINDA LIANO                        :        CIVIL ACTION
                                   :
          v.                       :
                                   :
COMPUTER SCIENCES CORPORATION,     :
INC.                               :        NO. 16-1080

                                 ORDER

          AND NOW, this 27th day of February, 2018, it having

been reported that the issues between the parties in the above

action have been settled, it is hereby ORDERED that the above

action is DISMISSED with prejudice and without costs, pursuant to

Rule 41.1(b) of the Local Rules of Civil Procedure of this Court.

                                   BY THE COURT:


                                   /s/ Harvey Bartle III
                                                                     J.
